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                       IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                   NO. 4:14CR00151 JLH

STEVEN DWAYNE OTEY, SR.,
JACQUELINE BIZZELL, LINDA
PERRY, CARL ADERHOLT,
BRITTANY MITCHELL,
BAILEY SHUMATE,
JOHN RUSSELL BROCK,
and BENNIE MANUEL                                                                  DEFENDANTS

                                             ORDER

       Pending before the Court is the motion for continuance of the May 4, 2015 trial of this matter

filed by defendant Jacqueline Bizzell. Document #153. The Court has determined that due to the

number of defendants and attorneys involved in this case the most efficient manner of which to

handle the motion for continuance will be to establish a deadline for any defendant opposing the

motion to file a response in opposition.

       IT IS THEREFORE ORDERED that any defendant opposing the motion for continuance

must file a response in opposition on or before APRIL 22, 2015. It will not be necessary for any

defendant who supports the motion for continuance to respond.

       The Court will assume that any defendant who does not file a response in opposition of the

motion on or before April 22, 2015, joins in the motion for continuance and waives Speedy Trial

requirements up to and including the next scheduled trial date.

       IT IS SO ORDERED this 8th day of April, 2015.


                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
